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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

v. *  crminaLno(ad YW Atcr 320
‘ .
JOHN IROGHO and * (Conspiracy to Commit Wire Fraud,
ODINAKA EKEOCHA, * 18 U.S.C. § 1349; Conspiracy to
* Commit Money Laundering,
Defendants * 18 U.S.C. § 1956(h); Forfeiture,
* 18 U.S.C. § 981(a)(1)(A) and
* 981(a)(1)(C), 18 U.S.C. § 982(a)(1),
* 21 U.S.C. § 853(p), 28 U.S.C. § 2461(c)}
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INDICTMENT Se Be
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COUNT ONE we OS estas
(Conspiracy to Commit Wire Fraud) Dy’ ot mo m
The Grand Jury for the District of Maryland charges that: Sr Su
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Introduction and Background

 

At all times relevant to this Indictment:

t. Defendant JOHN IROGHO (“IROGHO”) was a resident of Maryland.

2. Defendant ODINAKA EKEOCHA (“EKEOCHA”) was a resident of
Maryland.

3. Co-Conspirator 1 and Co-Conspirator 2 were residents of Maryland.

4. The Federal Emergency Management Agency (“FEMA”) was an agency of the
United States, within the United States Department of Homeland Security (“DHS”), responsible
for providing emergency benefits and compensation for damage to victims who were affected by

declared national emergency disasters. Among other benefits, an individual in an area affected
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by a national disaster was immediately eligible for $500 in compensation, deemed “Critical
Needs Assistance” (“CNA”), for the purpose of enabling the purchase of life-saving or life-
sustaining materials. The assistance was provided in the form of funds with no spending
limitations and was paid to the victim in a manner of his/her choosing, among available options,
which could include being paid onto pre-paid debit cards. The servers for FEMA, which were
used for processing applications for assistance, were located in Kansas City, Missouri, and
Mount Weather, Virginia.

5. The Social Security Administration (“SSA”) was an agency of the United States
responsible for paying Social Security benefits to, for example, individuals who had met their
retirement age and were entitled to retirement benefits. The benefits were paid to each
beneficiary in a manner of his/her choosing, among available options, which could include being
paid onto pre-paid debit cards.

6. The U.S. Department of Labor, working with its associated entities (“DOL”), was
an agency of the United States responsible for administering unemployment and disability
compensation benefits to eligible workers. The benefits were paid to the beneficiary in a manner
of his/her choosing, among available options, which could include being paid onto pre-paid debit
cards.

7. The Internal Revenue Service (“IRS”) was an agency of the United States
responsible for administering the country’s internal revenue laws. If individuals submitted
materials indicating that they had paid taxes to the IRS that were determined to exceed the tax
liability due and owing, then the individuals would be entitled to refunds of that tax. The refunds
were paid to the individual in a manner of his/her choosing, among available options, which

could include being paid onto pre-paid debit cards.

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8. Green Dot pre-paid debit cards were pre-paid debit cards that could be purchased
at convenience stores, pharmacies, grocery stores, and other stores nationwide and, upon
registration, could be funded by Automated Clearing House (“ACH”) electronic funds transfers
in the same manner as a bank account. Green Dot’s headquarters, to which electronic
communications traveled in connection with each Green Dot debit card transaction, including to
have money deposited onto the card, were located in Pasadena, California.

9, Each Green Dot pre-paid debit card had a unique number and had to be loaded
with an initial dollar amount by the card purchaser, usually $10 or $20 cash. An individual could
then register the card online at GreenDot.com, including from a mobile phone. For registration,
individuals were able to use any real individual’s name and address.

10. Upon registration of a Green Dot card, Green Dot issued an account number and
provided a routing number for Green Dot Bank. Although Green Dot undertook efforts to
confirm that the identifying biographical information provided upon registration of a card
matched a real person, a Green Dot card, unlike most bank-issued credit and debit cards, did not
require such security measures as that an activation code or Personal Identification Number
(“PIN”) be mailed to the registered cardholder. Rather, each card was sold with a PIN, and
individuals could subsequently amend the card’s PIN in order to withdraw funds from ATMs or
otherwise fund purchases in the manner of a debit card.

11. An individual could put money onto Green Dot debit cards in a variety of

manners, including by way of cash or electronically from bank accounts, government agencies,

or other sources.
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12. For Green Dot debit cards, users were able, if the cards were registered with
Green Dot, to log into an online account portal or a mobile application to control funds, as well
as to utilize the debit card for purchases and withdrawals.
13. WhatsApp was an encrypted Internet-based multimedia messaging service used
via a smartphone application that functioned using both cellular and wireless data connections.
The Conspiracy
14. From a time unknown to the Grand Jury, but beginning at least in or about March
2015, and continuing through at least in or about August 2018, in the District of Maryland and
elsewhere, the defendant,
JOHN IROGHO,
did knowingly and willfully combine, conspire, confederate, and agree with Co-Conspirator 1,
Co-Conspirator 2, and others known and unknown to the Grand Jury to commit wire fraud, that
is, to devise any scheme and artifice to defraud, and for obtaining money and property by means
of materially false and fraudulent pretenses, representations, and promises (“the scheme to
defraud”), and for the purpose of executing and attempting to execute such scheme and artifice,
to transmit and cause to be transmitted by means of wire communication in interstate and foreign
commerce, any writings, signs, signals, pictures, and sounds, in violation of 18 U.S.C. § 1343, in
relation to, and involving any benefit authorized, transported, transmitted, transferred, disbursed,
and paid in connection with, a presidentially declared major disaster or emergency (as those
terms are defined in section 102 of the Robert T. Stafford Disaster Relief and Emergency

Assistance Act (42 U.S.C. § 5122)).
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Manner and Means of the Conspiracy and Scheme to Defraud

It was part of the conspiracy and scheme to defraud that:

15. In and around 2016, 2017, and 2018, IROGHO, Co-conspirator 1, Co-
conspirator 2, and other co-conspirators purchased hundreds of Green Dot debit cards at
convenience stores, pharmacies, grocery stores, and other stores. Co-conspirators then registered
those cards with Green Dot using stolen personally identifiable information (“PII”) of victims of
identity theft from around the country.

| 16. Amidst Hurricanes Harvey, Irma, and Maria, and the California wildfires, in
2017, which were presidentially declared major disasters or emergencies, co-conspirators applied
online with FEMA for CNA using the stolen PII of additional victims of identity theft, who were
eligible for $500 due to those disasters. FEMA paid at least approximately $8 million in
amounts of $500 per claim to the Green Dot debit cards, among other pre-paid debit cards,
purchased by the co-conspirators.

17. In addition to filing false disaster assistance claims with FEMA, co-conspirators
also filed online false claims for Social Security benefits, false claims for IRS tax refunds, and
false claims for DOL unemployment and disability benefits using the stolen identities of multiple
additional individuals, including name, address, Social Security Number (“SSN”), and other
~ personal identifiers.

18. When filing the claims online, co-conspirators input the account number and
routing number from the Green Dot debit card into the claim form in order to receive the disaster

assistance or other government program funds such as Social Security benefits, IRS tax refunds,

and DOL benefits, on the Green Dot debit card.
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19, By virtue of the applications, the federal agencies to whom the applications had
been submitted then ACH-deposited claims proceeds directly onto the Green Dot debit cards.
Funds were deposited onto the Green Dot debit cards in multiple stolen identities, and in stolen
identities that were different from the identities that had been used to register the cards. After the
funds were placed onto the Green Dot debit cards, certain co-conspirators then informed other
co-conspirators, including IROGHO, Co-conspirator 1, and Co-conspirator 2, that funds were
available on the cards, and provided information to those and other co-conspirators to facilitate |
“cashing out” the funds from the cards, which IROGHO, Co-conspirator 1, Co-conspirator 2,
and other co-conspirators did in exchange for a commission. |

20. IROGHO, Co-conspirator 1, Co-conspirator 2, and other co-conspirators
subsequently spent, deposited into bank accounts, and/or “cashed out,” through ATM.
withdrawals or the purchase of money orders, for instance, the funds placed on the pre-paid debit
cards, in the District of Maryland and elsewhere. The co-conspirators regularly “cashed out”
from cards soon after funds were added to a card.

21. IROGHO, Co-conspirator 1, Co-conspirator 2, and other co-conspirators took
steps to conceal their identities and the conspiracy and scheme to defraud, such as by enlisting
other individuals to make purchases and withdrawals, utilizing multiple different store and bank
locations and methods of withdrawal, using multiple different bank accounts (including in the
names of corporate entities) and banks, converting funds into cash rather than placing them into |
bank accounts, and making money orders payable to other individuals and/or corporate entities
which they or their co-conspirators controlled.

22. TROGHO defrauded the United States and obtained money from the United
States both by receiving such funds himself and by enlisting EKEOCHA, Co-conspirator 1,

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and others, known and unknown, to “cash out” stolen funds from Green Dot and other pre-paid
debit cards, onto which co-conspirators had loaded those stolen funds. ~

23. IROGHO, EKEOCHA, Co-conspirator 1, Co-conspirator 2, and other co-
conspirators communicated by way of WhatsApp, e-mail, and other methods in furtherance of
the scheme. .

24. IROGHO, EKEOCHA, Co-conspirator 1, Co-conspirator 2, and other co-
conspirators used stolen federal funds from the scheme to pay rental and housing expenses, to
purchase used vehicles, and for other purposes.

Overt Acts

25. In furtherance of the conspiracy and scheme to defraud, and to effect the objects
thereof, FROGHO, Co-conspirator 2, and other persons known and unknown to the Grand Jury,
committed and caused to be committed the following acts, among others, in the District of
Maryland and elsewhere:

Green Dot debit card ending in 8577

a. On or about September 23, 2017, a co-conspirator purchased the Green
Dot debit card ending in 8577 at a convenience store in Temple Hills, Maryland, and a co-
conspirator registered the card under the stolen identity of Victim 1 of Nevada.

b. Oh or about September 23, 2017, IROGHO sent Co-Conspirator 2 a
WhatsApp text message that included the full account number for the card, as well as the card’s
expiration date and card verification value (“CVV”).

c. On or about September 24, 2017, Co-Conspirator 2 sent a co-conspirator

~ in Nigeria a WhatsApp text message that included the same information.
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d. On or about September 25, 2017, a co-conspirator used that card to
register for $500 in FEMA immediate disaster assistance under the stolen identities of Victim 2
of Texas and Victim 3 of Florida.

. On or about September 26, 2017, and October 2, 2017, respectively,

FEMA paid money to the card on behalf of Victim 3 and Victim 2.

Green Dot debit card ending in 8398

f. On or about July 28, 2017, a co-conspirator purchased the Green Dot debit
card ending in 8398 at a convenience store in Laurel, Maryland, and a co-conspirator registered
the card under the stolen identity of Victim 4 of Washington.

g. On or about that same date, Co-Conspirator 2 sent a WhatsApp text
message to a co-conspirator, at an international telephone number, containing the full account
number for the card, as well as the card’s expiration date and CVV.

h. On or about September 27, 2017, a co-conspirator used that card to
register for $500 in FEMA immediate disaster assistance under the stolen identity of Victim 5 of
Texas. On or about October 4, 2017, FEMA paid money to the card on behalf of Victim 5.

1. On or about October 8, 2017, the co-conspirator at the international
telephone number mentioned above sent the card information back to Co-Conspirator 2 via a
WhatsApp text message, and minutes later Co-Conspirator 2 sent TIROGHO a WhatsApp text

message that included the card information. Co-Conspirator 2 also sent IROGHO card

information for additional Green Dot debit cards at around the same time.

18 U.S.C. § 1349
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COUNT TWO
(Conspiracy to Commit Money Laundering)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs 1 through 13 and 15 through 25 of Count One are incorporated here.

2. From a time unknown to the Grand Jury, but beginning at least in or about 2016
and continuing until at least in or about August 2018, in the District of Maryland and elsewhere,
the defendants,

JOHN IROGHO and
ODINAKA EKEOCHA,

did knowingly conspire with each other and other persons known and unknown to the Grand
Jury to conduct and attempt to conduct a financial transaction, affecting interstate and foreign
commerce, which involved the proceeds of specified unlawful activity—to wit, conspiracy to
commit wire fraud, in violation of 18 U.S.C. § 1349, as set forth in Count One and incorporated
here—while knowing that the property involved in the financial transaction represented the
proceeds of some form of unlawful activity and

a. with the intent to promote the carrying on of specified unlawful activity, in
violation of 18 U.S.C. § 1956(a)(1)(A)(i); and

b. knowing that the transaction was designed in whole and in part to conceal
and disguise the nature, location, source, ownership, and control of the proceeds of said specified
unlawful activity, in violation of 18 U.S.C. § 1956(a)()(B)G).

Manner and Means of the Conspiracy
3. It was part of the conspiracy that the defendants and their co-conspirators spent,

deposited into bank accounts, and/or “cashed out,” through ATM withdrawals or the purchase of
money orders, for instance, the funds placed on the pre-paid debit cards, in the District of

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Maryland and elsewhere. The co-conspirators regularly “cashed out” from cards soon after
funds were added to a card.

4, It was further part of the conspiracy that T(ROGHO, Co-conspirator 1, Co-
conspirator 2, and other co-conspirators took steps to conceal their identities and the conspiracy
and scheme to defraud, such as by enlisting other individuals (including EKEOCHA) to make
purchases and withdrawals, utilizing multiple different store and bank locations and methods of
withdrawal, using multiple different bank accounts (including in the names of corporate entities)
and banks, converting funds into cash rather than placing them into bank accounts, and making
money orders payable to other individuals and/or corporate entities which they or their co-
conspirators controlled.

Overt Acts

5. In furtherance of the conspiracy, and to effect the objects thereof, the defendants,
and others known and unknown to the Grand Jury, committed and caused to be committed the
following acts, among others, in the District of Maryland and elsewhere:

Green Dot debit card ending in 5828

a. On or about May 20, 2017, after a co-conspirator used the Green Dot debit
card ending in 5828 to apply for tax refund payments under the stolen identity of Victim 6 of
Arizona as part of the scheme to defraud (which the IRS paid to the card on or about May 19,
2017, in the amount of $9,747), a co-conspirator used the card to withdraw $2,900 through the
purchase of six Western Union money orders at grocery stores in Bowie, Maryland, and
Dunkirk, Maryland, which money orders were written to IROGHO.

b. Between on or about May 31, 2017, and on or about June 6, 2019,
IROGHO deposited those six money orders into one of his bank accounts at Wells Fargo.

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c. On or about May 21, 2017, a co-conspirator used the card to purchase a
MoneyGram money order in the amount of $1,200 at a grocery store in Alexandria, Virginia,
which money order was also written to IROGHO and negotiated at Wells Fargo.

Green Dot debit card ending in 7436

 

d. On or about August 12, 2017, and August 13, 2017, after a co-conspirator
used the Green Dot debit card ending in 7436 to apply for Social Security benefits under the
stolen identity of Victim 7 of New Jersey as part of the scheme to defraud (which the SSA paid
to the card on or about August 11, 2017, in the amount of $13,470), a co-conspirator withdrew
approximately $4,700 of that money from the card through the purchase of approximately ten
Western Union money orders at a grocery store in District Heights, Maryland, which money
orders were written to [ROGHO.

e. On or about August 14, 2017, IROGHO deposited at least four of those
money orders into one of his bank accounts at Wells Fargo.

Green Dot debit card ending in 7217

f. On or about May 19, 2017, after a co-conspirator used the Green Dot debit
card ending in 7217 to apply for tax refunds under the stolen identity of Victim 8 of Maryland as
part of the scheme to defraud (which the IRS paid to the card on or about that same date in the
amount of $3,212), EKEOCHA, having been enlisted by [IROGHO, withdrew $1,500 from the
card by the purchase of three Western Union money orders at a grocery store in Laurel,
Maryland. EKEOCHA wrote a different name and address as purchaser on each money order,

one of which was related to FROGHO, and none of which was EKEOCHA’s own.

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Green Dot debit card ending in 3407

g. On or about May 21, 2017, after a co-conspirator used the Green Dot debit
card ending in 3407 to apply for tax refunds under the stolen identity of Victim 9 of Maryland as
part of the scheme to defraud (which the IRS paid to the card on or about that same date in the
amount of $4,925), EKEOCHA, having been enlisted by IROGHO, used the card to withdraw
$450 of that money from the card by the purchase of a Western Union money order at a grocery

store in Bowie, Maryland. EKEOCHA wrote a name and address as purchaser on the money

order that was not his own.

18 U.S.C. § 1956(h)

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FORFEITURE ALLEGATION
The Grand Jury for the District of Maryland further finds that
1. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendants that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.
§§ 981(a)(1)(A), 981 (a)C1)(C), and 982(a)(1), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in
the event of the defendants’ convictions on Counts One and Two of this Indictment.
Fraud Forfeiture
2. As a result of the offense set forth in Count One of this Indictment, the defendant,
JOHN IROGHO,
shall forfeit to the United States any property, real or personal, which constitutes or is derived
from proceeds traceable to such violation, and all interest and proceeds traceable thereto.

Money Laundering Forfeiture

 

3. Asa result of the offense set forth in Count Two of this Indictment, the
defendants,
JOHN TROGHO and
ODINAKA EKEGCHA,

shall forfeit to the United States of America any property, real or personal, involved in such
| offense, and any property traceable to such property.
4, The property to be forfeited includes, but is not limited to, the following:

a. 4812 Ashford Place, Upper Marlboro, MD 20772;

b. All property constituting the subject matter of the money laundering

offenses; and

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c.

laundering offenses.

All property used to commit or to facilitate the commission of the money

Substitute Assets

5. If, as a result of any act or omission of any defendant, any of the property

described above as being subject to forfeiture:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third person; '

has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or

has been commingled with other property which cannot be subdivided

without difficulty, °

the United States of America, pursuant to 21 U.S.C. § 853(p), shall be entitled to forfeiture of

substitute property.

18 U.S.C. § 981(a)(1(A)
18 U.S.C. § 981(aX1\(C)

18 U.S.C. § 982(a)(1)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

A TRUE BILL:

fed
Robert K. Hur
United States Attorney

 

SIGNATURE REDACTED Date: “i Sealy A\, LE (9

Foreperson

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